Case 1:17-ap-01045   Doc 6-3    Filed 09/19/17 Entered 09/19/17 11:17:14   Desc
                               Exhibit Page 1 of 4
Case 1:17-ap-01045   Doc 6-3    Filed 09/19/17 Entered 09/19/17 11:17:14   Desc
                               Exhibit Page 2 of 4
Case 1:17-ap-01045   Doc 6-3    Filed 09/19/17 Entered 09/19/17 11:17:14   Desc
                               Exhibit Page 3 of 4
Case 1:17-ap-01045   Doc 6-3    Filed 09/19/17 Entered 09/19/17 11:17:14   Desc
                               Exhibit Page 4 of 4
